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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
LUIS M. MILLAN DIAZ,                      :    Civil No. 1:16-cv-2234
                                          :
                   Plaintiff,             :
                                          :
             v.                           :
                                          :
UNITED STATES,                            :
                                          :
                   Defendant.             :
                                          :    Judge Sylvia H. Rambo

                                    ORDER

      Upon the parties’ joint request that a settlement conference be scheduled in

this matter before Magistrate Judge Martin Carlson (Doc. 17), IT IS HEREBY

ORDERED THAT this case is referred to Magistrate Judge Carlson to conduct

settlement negotiations at the convenience of the parties and the court.


                                                  s/Sylvia H. Rambo
                                                  SYLVIA H. RAMBO
                                                  United States District Judge

Dated: October 30, 2019
